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           ,~                                                       FILED
      ~~Y~ ~                                                          -  ~
      ~ I~                                                           ~ 9~
      ~~                                                          CLERK, W.S.          NIR
      6                                                      BY                     CEP+1Y

      7.

                                                                   V ' ~t..11




      9I                         CENTRAL DISTi~ICT Or CALIrORI~~IA

     10
     11 UIvTi'D STr~TS OF A~tRICA,;

     12                    ~lain;.i~     ;      ~7~ ~a,s- ~n-/9
     ~3               V.
                                              ORDER OF DETEn'TION A TER HARING
                 i                                 I 18 L.S.C. § 3142(1)]
     ,~                    Defendant.

     16
           ,~
     17                                          I.

     =8 f        E.   (    ) On mo~ion or one Gove=-nmen~ =nvc".wing zn alleged
                      1•     (   )   c.ire o< <~io men:e ;
    ,~
                                                                                               i
     20                      (   )   o=~er.se ~.i~n ma}:imam sen~ence c. ~~:e ~~~«-
     21                              sonmen~ o~ deztn;                                         i

     22               3. (           n<<co~ics or con roiled subs~ance o~~eTse ~,i
     23                              mz~:inum sen~ence o~ ten o~ mo:e ye~_s (2i
        ~~
     14~                             LT.S.C. ~y~' 8~!,%°51, et. seo. ,/°~5~);

     25               4. (       )   ~elor_v - de=enca~~ cony=c~ec c~ Iwo c. ~o_e

     26                              ~~io= orfenses described above.

     27 ///
       !//
     28 ///
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         f                                                           ~.                         '

,. -~..~                                                                                        i

    .1            J~r. ~~~~ ~: i ; -~       ~ ) (~ y •.:._= ;~overnrnen~)/( ) (by t.e Court —.-.
                                                                                            sua

    2
                            1. ( ) se- o~~s risk defendant will flee;

                            2.          {    ) se_ous ~~sk defendant will

    5                                   a. (      ) obstruct or at:,empt to obstruct

   '6                                               justice;

    7                               c. ( ) tnrea~en~ injure, or intimidate a
    ~~
    ,~                                              ;,• ~ ~r~^-ive .ai~ness or juror o-

    9                                               a~~.emvt to do sp;

  io.                                                  IY.

  11         The Coupt finds no cand~tion oY combination of conditions

  12 will reaso:~ably assure:

  13         A. (      ) avpearax~ce o~ de~enaant as required;

  14                                                 and~or

  15         B. (~s~iety o~ any person or the communi~y;                                            .

  16                                                   III.

  17         Tne Court has conside=ea:

  18         ~. (✓5 ~'ne na~u=e and c__c~s~ances o~ the o~=ease;
  ,g         B. ( ) one weight o                     e~~inence ag2~ns~ -.ne de e:~dzn~;

   20        C. ( ~he histo=y and cna:ac~e:is~ics or ~he de_encan~;

   21        D. (           the nature and sewiousness of the flange_ to any

   22                       person o~ to the communi~y.

  23                                                   IV.

   24        `1'he Cuuit concludes

   25        A. (~e~endant poses z risx to the s2=etv o~ other pe:-

  26                        sons o. ~h~ conanun=~~~ because:
                                 i► ~.-
   2?
                                                               A ~
   28
                                                        _ ~!
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                                                          v

              2                      .~qwc~—~ca~— —+fir —.c

                                     V

              3           B. (   ) History and ~:7._-:ac;.eris Tics indicate a serious risl~

              4    that defendant wi1T flee bec4ls~`

              5
              6
                                                                                     S
              7

                                     ._._                           _ _.r._. . _     ~----
              9           C. ( ) A serious:isk e~:ists that defendant will:

             10.                     1. ( ) obstruct or atte-rrot to obstruct justice;

             11                      2. ( ) threa~en., injure or intimidate a wi~ness/

             12                                 juror.;

             13                      3. ( ) at;.e~~~ to ~h~eaten, ~nju:e or intimidate

             14
             ~5                      Because;

             16

             17

             '!8
             ~g          D. ( ~ Le~endant h2s nom =Eb11L~ed e3~ su==icien~ et•~dence                     ~
                                                                                                         i
             24                      to she con~ra_y ;.he p~esv~~~ion provided                   n 18

             21'                     U.S.C. § 31~;2(e). ay                     ~~.~~

             22          IT IS ORDERED defendant be net~ined prior ~o Trial.

             23          IT IS FURTHER ORDER=D that defendant be confined as far ~s

             24 }~rdctie~~;le iii a corrections. facility separate from pe:sons await-

             25 ing o: se~~ing sentences or persons being hell pending appeal.                           ~

             26 ///

             27 ///

             28    /I/
                                                              -3-
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